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Exhibit 3
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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS ;

MDL DOCKET NO. 1629 i

In re: NEURONTIN MARKETING, )
)

SALES PRACTICES AND PRODUCTS ) DEPOSITION UPON ;
) ORAL EXAMINATION

LIABILITY LITIGATION. ) OF i
) RUTH B. SMITH A

) ;

) VOLUME 1 ;

) ;

i

}

TRANSCRIPT of the stenographic :

notes of JANE LORFING COLWELL, a Certified Shorthand
Reporter and Notary Public of the State of New
Jersey, taken at the Four Points by Sheraton Newark :
:

Airport, 901 Spring Street, Elizabeth, New Jersey, on |
Thursday, April 12, 2007, commencing at 9:09 a.m.
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REPORTING SERVICES ARRANGED THROUGH:
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Florham Park, New Jersey 07932

  
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that on May the 8th, and the reason I remember it was
the weekend that Cindy's birthday, and we always get
together, and he related to Wes that he was -- felt
loopy, like, was the word he used.

Q This conversation with Wes was the
weekend of May 8?

A Yes.

Q_ And Wes's last name is?

A Camahan, C-A-R-N-A-H-A-N.

Q He told Wes that he felt loopy?

A He told him he was on -- he stated, "I'm
on Neurontin, and it makes me feel loopy."

Q Was loopy a term he used other times,
other context?

A Probably.

Q From your knowledge of him in using that
term before, what did he mean by that?

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1 ever have a conversation with him where he connected 1 A I guess sort of -- I honestly don't know

.{ 2 any feelings he was having with Neurontin himself? 2 what he meant by it. :
} 3 A No. Not -- not myself that I recall. 3 Q The episode at the kitchen table about :
-~ 4 You know. 4 three weeks before his death, nothing else about that :
5 Q_ And tell me, let's talk about these two 5 other than his comment and your comment that we have
6 episodes that you talked about. You said one was, 6 talked about?
7 you said, three weeks. Is that -- 7 A __ It was so -- off the cuff that I just k
8 A Jam going to say about three weeks 8 said what I just told you. And that was just end of :
9 before. 9 it.
10 Q Three weeks before his death? 10 Q Did you report that comment to your
11 A Yes. Uh-huh. 11 daughters?
12 Q So three weeks before his death you all 12 A Yes, I'm sure I did. :
13 were sitting, the two of you -- 13.  Q What was their response? P
14 A Uh-huh. 14 A I don't know what they thought then, but :
15 Q __ -- sitting at the dining table? 15 when we look back, hindsight's a lot different. They
16 A Yes. 16 said they wished that they had paid more attention or :
17 Q_ And he asked if you thought God would 17 something to that effect.
18 forgive him if he did away with himself? 18 Q_ And the other episode, and I forget if ;
19 A Right. 19 you told me when that happened, when he said "Idon't §
20 Q__ And you pointed out that that would 20 know what's wrong with me,” when was that one?
21 leave a huge burden for his family to deal with. 21 A That was one Sunday after church when we ;
22 A Sure. 22 were going out to eat lunch.
23 Q_ What further conversation took place 23 Q_ When was that in relationship to the ;
24 there? 24 time of his death? !
25 A I guess it just sort of ended with that. 25 A I don't really recall the exact date, ;
Page 147 Page 149f
1 Imean, you know, I didn’t belabor over it. 1 but I would say it's probably about three weeks :
2 Q Do you know one way or the other whether 2 before his death.
3 he was or was not taking Neurontin at this time, 3 Q Same general time period as the other :
4 about three weeks before his death? 4 episode?
5 A He was taking it. 5 A Uh-huh, yes. ;
6 Q  Howdo you know that? 6 Q_ Again, what did he say? :

7 A Well, Dr. McCombs had given him samples 7 MR. FINKELSTEIN: Why don't we have it

8 of it, and he also told my son-in-law, Wes Carnahan, 8 read back? Because I have the -- what he said was "I

didn’t know what was going on in my mind.” You said
something different. I'd rather adopt the words that
she used. That's why we have the reporter.

MR. FERGUSON: I don't think we need to i
have it read back, but whatever --

MR. FINKELSTEIN: I'll object. Asked
and answered. I am not looking to argue, but --

Q Whatever it is you said earlier that he

said, what was your response to it?

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RRR cee eres

A When he said --
Q Whatever you told me --
A "I don't know what's wrong with my
mind" -- :
Q Okay. :
A “Something must be wrong with my mind. :
I don't think like I used to." ;
I don! t know that I even recall | making ;

38 (Pages 146 to “149)
